                               Case 24-50792-hlb                                 Doc 5              Entered 08/09/24 12:25:59                                          Page 1 of 24

 Fill in this information to identify the case:

 Debtor name            Meta Materials Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEVADA

 Case number (if known)              24-50792
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       34,830,652.99

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       34,830,652.99


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        5,177,997.86


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,177,997.86




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         24-50792
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase                                                    Checking                       5780                                    $36,252.82




           3.2.     Silicon Valley Bank                                      Checking                       7741                                       $707.74



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                                $36,960.56
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     FTI Consulting (net retainer)                                                                                                    $1,646.14




           7.2.     Stretto (retainer)                                                                                                              $10,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           Meta Materials Inc.                                                        Case number (If known) 24-50792
                  Name




 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

                    Consulting Agreement between Meta Materials Inc. and E10 Consulting LLC for the benefit of
           8.1.     Dan Eaton                                                                                                           $100,000.00



                    Consulting Agreement between Meta Materials Inc. and Bdalcom LLC for the benefit of Uzi
           8.2.     Sasson                                                                                                              $100,000.00




           8.3.     Prepaid D&O Insurance                                                                                             $1,669,863.45



                    Hub International - Amortizing Inv #3402300 for Hub International for Feb 2024 and moving
           8.4.     the rest into prepaids                                                                                                 $7,180.34



                    Consulting Fees - Headoffice - Consulting Fees - Finance - Headoffice/ for services rendered
           8.5.     in MAY GL: 72160-315-30                                                                                                $8,034.48




           8.6.     HUB International - AfCo Payment                                                                                    $278,512.37




           8.7.     Hub International - Commercial Property Renewal 2023-2024                                                            $11,444.43



 9.        Total of Part 2.
                                                                                                                                  $2,186,681.21
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.

                                                                                                     Valuation method used     Current value of
                                                                                                     for current value         debtor's interest

 14.       Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

 15.       Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 2
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 Debtor         Meta Materials Inc.                                                           Case number (If known) 24-50792
                Name

           Name of entity:                                                          % of ownership


           15.1.     Metamaterial Exchangeco Inc.                                   100%       %                                      Unknown




           15.2.     2798831 ONTARIO INC.                                           100%       %                                      Unknown




           15.3.     Metamaterial Inc.                                              100%       %                                      Unknown




           15.4.     Metamaterial Technologies Canada Inc.                          100%       %                                      Unknown




           15.5.     Medical Wireless Sensing Ltd.                                  100%       %                                      Unknown




           15.6.     Metamaterial Technologies USA Inc.                             100%       %                                      Unknown




           15.7.     META MATERIALS SINGLE MEMBER S.A.                              100%       %                                      Unknown




           15.8.     1315115 B.C. Ltd                                               100%       %                                      Unknown




           15.9.     Nanotech Security Corp.                                        100%       %                                      Unknown



 16.       Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:

 17.       Total of Part 4.
                                                                                                                                      $0.00
           Add lines 14 through 16. Copy the total to line 83.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                            page 3
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                           Case 24-50792-hlb                         Doc 5   Entered 08/09/24 12:25:59           Page 5 of 24

 Debtor         Meta Materials Inc.                                                            Case number (If known) 24-50792
                Name

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                                Net book value of      Valuation method used      Current value of
                                                                               debtor's interest      for current value          debtor's interest
                                                                               (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            www.metamaterial.com                                                         Unknown                                              Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations

 64.        Other intangibles, or intellectual property
            Substantially all Intellectual Property is held by
            debtor's subsidiaries.                                                           $0.00                                            Unknown



 65.        Goodwill

 66.        Total of Part 10.
                                                                                                                                                $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
                No
                Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

 Part 11:       All other assets

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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 Debtor         Meta Materials Inc.                                                          Case number (If known) 24-50792
                Name

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                               Current value of
                                                                                                                               debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

           NOL - MMAT - standalone                                                             Tax year Multiple                    $29,684,749.38



 73.       Interests in insurance policies or annuities

           Hub International Midwest West - D&O Insurance                                                                             $2,922,261.84



 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

           Short seller litigation                                                                                                          Unknown
           Nature of claim                     Market Manipulation
           Amount requested                                                  $0.00


           Meta Materials Inc. v. Georgios Palikaras and Lamda Guard
           Technologies Inc.
           Supreme Court of Nova Scotia
           Case No. TBA                                                                                                                     Unknown
           Nature of claim           Tort
           Amount requested                                $0.00


           Landlord (350 Arbor, LLC, WVP Arbor LLC, MHM Arbor,
           LLC, KP Arbor, LLC) lockout/property in possession of
           creditor                                                                                                                         Unknown
           Nature of claim          Lease
           Amount requested                               $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           D&O premium credit                                                                                                               Unknown
           Nature of claim                     Insurance
           Amount requested                                                  $0.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor         Meta Materials Inc.                                                          Case number (If known) 24-50792
                Name


 78.       Total of Part 11.
                                                                                                                                $32,607,011.22
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
             No
             Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 6
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 Debtor          Meta Materials Inc.                                                                                Case number (If known) 24-50792
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                           $36,960.56

 81. Deposits and prepayments. Copy line 9, Part 2.                                                            $2,186,681.21

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                       $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                  $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                              $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                 $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +            $32,607,011.22

 91. Total. Add lines 80 through 90 for each column                                                       $34,830,652.99             + 91b.                       $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $34,830,652.99




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 7
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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         24-50792
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                        12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                      page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)           24-50792
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           Allison Christilaw
           c/o Meta Materials Inc.
                                                                                Contingent
           5880 W. Las Positas Blvd, Suite 51                                   Unliquidated
           Pleasanton, CA 94588                                                 Disputed
           Date(s) debt was incurred                                         Basis for the claim: D&O indemnification claim
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $53,794.73
           Amster, Rothstein & Ebenstein LLP
                                                                                Contingent
           405 Lexington Avenue 48th Floor                                      Unliquidated
           New York, NY 10174                                                   Disputed
           Date(s) debt was incurred 9/23/2023                               Basis for the claim: Service
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $20,000.00
           Andrea Alu
                                                                                Contingent
           221 Engle St.                                                        Unliquidated
           Tenafly, NJ 07670                                                    Disputed
           Date(s) debt was incurred 8/31/2023                               Basis for the claim: Service
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $13,373.00
           Apaton Finance GmbH
                                                                                Contingent
           Ellernstraße 34                                                      Unliquidated
           30175 Hannover, Germany                                              Disputed
           Date(s) debt was incurred 6/6/2023                                Basis for the claim: Service
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes


 3.5       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $3,348.08
           BDO USA, LLP
                                                                                Contingent
           One International Place 4th Floor                                    Unliquidated
           Boston, MA 02110                                                     Disputed
           Date(s) debt was incurred 6/30/2023                               Basis for the claim: Service
           Last 4 digits of account number                                   Is the claim subject to offset?      No         Yes

Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 9
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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,169.12
          Borden Ladner Gervais LLP
          World Exchange Plaza
          100 Queen Street
                                                                                Contingent
          Suite 1300                                                            Unliquidated
          Ottawa, ON, Canada K1P 1J9                                            Disputed
          Date(s) debt was incurred 10/18/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $366,994.67
          Broadridge ICS
                                                                                Contingent
          PO Box 416423                                                         Unliquidated
          Boston, MA 02241-6423                                                 Disputed
          Date(s) debt was incurred 11/29/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $80,527.50
          Brown Rudnick LLP
                                                                                Contingent
          One Financial Center                                                  Unliquidated
          Boston, MA 02111                                                      Disputed
          Date(s) debt was incurred 2/21/2024                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,002.60
          Brownstein Hyatt Farber Schreck LLP
                                                                                Contingent
          675 15th Street, Suit 2900                                            Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred 1/24/2024                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,844.82
          CO Match GmbH
                                                                                Contingent
          Wilhelmstraße 118                                                     Unliquidated
          Berlin, 10963                                                         Disputed
          Date(s) debt was incurred 4/20/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $195,265.56
          Consilio LLC
                                                                                Contingent
          1828 L Street NW Suite 1070                                           Unliquidated
          Washington, DC 20036                                                  Disputed
          Date(s) debt was incurred 4/20/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $54,164.40
          D.F. KING & CO., INC.
                                                                                Contingent
          48 Wall Street                                                        Unliquidated
          New York, NY 10005                                                    Disputed
          Date(s) debt was incurred 12/29/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dan Eaton
          c/o Meta Materials Inc.
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 2 of 9
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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
              Name

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $780.00
          Diversified Benefit Services, Inc.
                                                                                Contingent
          PO Box 260                                                            Unliquidated
          Hartland, WI 53029                                                    Disputed
          Date(s) debt was incurred 5/1/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $70,410.00
          DLA Piper LLP (US)
                                                                                Contingent
          650 South Exeter Street, Suite 1100                                   Unliquidated
          Baltimore, MD 21202                                                   Disputed
          Date(s) debt was incurred 3/30/2024                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.32
          DocuSign, Inc.
                                                                                Contingent
          221 Main Street Suite 1550                                            Unliquidated
          San Francisco, CA 94105                                               Disputed
          Date(s) debt was incurred 12/22/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $87,736.25
          Donnelley Financial Solutions
                                                                                Contingent
          PO Box 842282                                                         Unliquidated
          Boston, MA 02284                                                      Disputed
          Date(s) debt was incurred 5/5/2023                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $102,130.57
          Ducera Partners LLC
                                                                                Contingent
          11 Times Square, 36th Floor                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred 5/5/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,725.00
          E*Trade Financial Corporate Services, In
                                                                                Contingent
          3 Edison Drive                                                        Unliquidated
          Alpharetta, GA 30005                                                  Disputed
          Date(s) debt was incurred 10/26/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $100.00
          Financial Accounting Standards Board
                                                                                Contingent
          PO Box 418272                                                         Unliquidated
          Boston, MA 02241-8272                                                 Disputed
          Date(s) debt was incurred 5/2/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $306,293.30
          Fish & Richardson P.C.
                                                                                Contingent
          One Marina Park Drive                                                 Unliquidated
          Boston, MA 02210-1878                                                 Disputed
          Date(s) debt was incurred 11/5/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
              Name

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,420.00
          FW Cook
          Two Allen Center
                                                                                Contingent
          1200 Smith Street, Suite 1100                                         Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred 12/22/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,000.00
          Hybrid Financial Ltd
          222 Bay Street, Suite 2600
                                                                                Contingent
          PO Box 37                                                             Unliquidated
          Toronto, ON, M5K 1B7                                                  Disputed
          Date(s) debt was incurred 12/22/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $284,428.83
          ICR LLC
                                                                                Contingent
          761 Main Ave                                                          Unliquidated
          Norwalk, CT 06851                                                     Disputed
          Date(s) debt was incurred 5/1/2023                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Idtechex
          One Boston Place
                                                                                Contingent
          Suite 2600                                                            Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred 10/29/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,825.00
          Infinite Equity Inc.
                                                                                Contingent
          PO Box 720151                                                         Unliquidated
          San Francisco, CA 94172                                               Disputed
          Date(s) debt was incurred 11/3/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jennifer Charaso
          c/o Meta Materials Inc.
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          John R. Harding
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
              Name

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,648.12
          Jupia Consultants Inc
                                                                                Contingent
          71 Park Street                                                        Unliquidated
          Moncton, New Brunswick E1C 2B2                                        Disputed
          Date(s) debt was incurred 10/20/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kenneth Hannah
          c/o Meta Materials Inc.
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $43,001.00
          LADENBURG THALMANN & CO INC.
                                                                                Contingent
          640 5th Ave, 4th floor                                                Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred 10/29/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $93,042.01
          Lathrop GPM
                                                                                Contingent
          P.O. Box 7410148                                                      Unliquidated
          Chicago, IL 60674-0148                                                Disputed
          Date(s) debt was incurred 6/28/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,741.00
          Law office of Kim & Chang
                                                                                Contingent
          39, Sajik-ro 8-gil, Jongno-gu                                         Unliquidated
          Seoul, Gyeonggi-do, 03170                                             Disputed
          Date(s) debt was incurred 9/28/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,125.00
          LeBlanc Flanery PLLC
                                                                                Contingent
          2929 Allen Parkway, Suite 200                                         Unliquidated
          Houston, TX 77019                                                     Disputed
          Date(s) debt was incurred 1/30/2024                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,642.19
          Lewis Silkin LLP
                                                                                Contingent
          Arbor, 255 Blackfriars Road                                           Unliquidated
          London SE1 9AX                                                        Disputed
          Date(s) debt was incurred 1/25/2024                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $400,000.00
          Lincoln Park Capital Fund, LLC
                                                                                Contingent
          440 North Wells St., Suite 410                                        Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred 12/31/2023                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
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 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $105,000.00
          Lux Research Inc.
                                                                                Contingent
          100 Franklin St. 8th Floor                                            Unliquidated
          Boston, MA 02110                                                      Disputed
          Date(s) debt was incurred 3/17/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,712.85
          MAJOR & GROVE International Law Firm
                                                                                Contingent
          95 Akti Miaouli                                                       Unliquidated
          Piraeus 18538, Greece                                                 Disputed
          Date(s) debt was incurred 3/1/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,451.00
          Mark L Brongersma
                                                                                Contingent
          1011 Lemon Street                                                     Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred 9/20/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,728.00
          McAndrews, Held & Malloy, Ltd
                                                                                Contingent
          500 W Madison St. 34th Fl                                             Unliquidated
          Chicago, IL 60661                                                     Disputed
          Date(s) debt was incurred 9/30/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,663.87
          Mediant Communications Inc.
                                                                                Contingent
          PO Box 29976                                                          Unliquidated
          New York, NY 10087-9976                                               Disputed
          Date(s) debt was incurred 12/29/2023                               Basis for the claim: Capex
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,260.00
          MentumTech LLC
                                                                                Contingent
          18694 Sea Turtle Ln                                                   Unliquidated
          Boca Raton, FL 33498                                                  Disputed
          Date(s) debt was incurred 7/28/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $72,692.46
          MINTZ LEVIN COHN FERRIS GLOVSKY &
          POPEO
                                                                                Contingent
          One Financial Center                                                  Unliquidated
          Boston, MA 02111                                                      Disputed
          Date(s) debt was incurred 4/3/2023                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Nader Engheta
                                                                                Contingent
          2077 Fox Creek Road                                                   Unliquidated
          Berwyn, PA 19312                                                      Disputed
          Date(s) debt was incurred 9/30/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
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 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $52,284.96
          ONE MAN SUPPORT
                                                                                Contingent
          21-23 RUE DU DEPART                                                   Unliquidated
          PARIS 75014                                                           Disputed
          Date(s) debt was incurred 7/31/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,532.53
          Patsnap UK LTD
          Building 3, Chiswick Business Park
                                                                                Contingent
          566 Chiswick High road                                                Unliquidated
          London W4 5YA                                                         Disputed
          Date(s) debt was incurred 11/1/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Philippe Morali
          c/o Meta Materials Inc.
          5880 W. Las Positas Blvd,
                                                                                Contingent
          Suite 51                                                              Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $69,640.00
          Polsinelli PC
                                                                                Contingent
          900 W 48th Place, Suite 900                                           Unliquidated
          Kansas City, MO 64112                                                 Disputed
          Date(s) debt was incurred 3/24/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Public Company Account Oversight Board
                                                                                Contingent
          PO Box 418631                                                         Unliquidated
          Boston, MA 02241-8631                                                 Disputed
          Date(s) debt was incurred 5/2/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $172,613.65
          Say Technologies LLC
                                                                                Contingent
          85 Willow Road                                                        Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred 12/21/2024                               Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Shareholder Intelligence Service LLC
                                                                                Contingent
          151 Rowayton Avenue                                                   Unliquidated
          Rowayton, CT 06853                                                    Disputed
          Date(s) debt was incurred 7/5/2024                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,150.00
          Squire Patton Boggs
                                                                                Contingent
          1841 Page Mill Road, Suite 150                                        Unliquidated
          Palo Alto, CA 94304                                                   Disputed
          Date(s) debt was incurred 9/15/2023                                Basis for the claim: Raw Material
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 Debtor       Meta Materials Inc.                                                                     Case number (if known)            24-50792
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 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          SRAX, Inc.
                                                                                Contingent
          2629 Townsgate Rd, Suite 215                                          Unliquidated
          Westlake Village, CA 91361                                            Disputed
          Date(s) debt was incurred 11/8/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $123,062.50
          The Nasdaq Stock Market, LLC
                                                                                Contingent
          151 W. 42nd Street                                                    Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred 7/27/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,761.47
          TRGR Advertising Ltd.
                                                                                Contingent
          1215 13 Street SW 106                                                 Unliquidated
          Calgary, AB T2G 3J4, CA                                               Disputed
          Date(s) debt was incurred 8/31/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Uzi Sasson
          c/o Meta Materials Inc.
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vyomesh Joshi
          c/o Meta Materials Inc.
                                                                                Contingent
          5880 W. Las Positas Blvd, Suite 51                                    Unliquidated
          Pleasanton, CA 94588                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim: D&O indemnification claim
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,500.00
          Water Tower Research LLC
                                                                                Contingent
          200 2nd Ave South, Suite 718                                          Unliquidated
          Saint Petersburg, FL 33701                                            Disputed
          Date(s) debt was incurred 4/7/2023                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,818,822.50
          Wilson Sonsini Goodrich & Rosati
                                                                                Contingent
          PO Box 742866                                                         Unliquidated
          Los Angeles, CA 90015                                                 Disputed
          Date(s) debt was incurred 5/7/2023                                 Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,694.00
          YPC - Streetwise Reports
          295 Palmas Inn Way,
                                                                                Contingent
          Suite 104, PMB 115                                                    Unliquidated
          Humacao, PR 00791                                                     Disputed
          Date(s) debt was incurred 5/16/2023                                Basis for the claim: Service
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


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 Debtor       Meta Materials Inc.                                                                  Case number (if known)         24-50792
              Name


 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.       $                          0.00
 5b. Total claims from Part 2                                                                         5b.   +   $                  5,177,997.86

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                           5c.       $                     5,177,997.86




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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         24-50792
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                          State the name and mailing address for all other parties with
                                                                                     whom the debtor has an executory contract or unexpired
                                                                                     lease

 2.1.        State what the contract or                   Lease (Maryland)
             lease is for and the nature of               (Ref No. 202210024)
             the debtor's interest

                 State the term remaining                 Effective date 9/14/2022
                                                                                         30 CCC, LLC
             List the contract number of any                                             10960 Grantchester Way Suite 110
                   government contract                                                   Columbia, MD 21044


 2.2.        State what the contract or                   Service Agreement
             lease is for and the nature of               (Ref No. 202210028)
             the debtor's interest

                 State the term remaining                 Effective date                 A Friend GmbH
                                                          12/14/2022                     Sternenstrasse 14, 8002
             List the contract number of any                                             Zurich, Switzerland
                   government contract


 2.3.        State what the contract or                   Services Access
             lease is for and the nature of               Agreement
             the debtor's interest                        (Ref No. 202210016)
                                                                                         EquityEdge by Morgan Stanley
                 State the term remaining                 Effective date 9/11/2022       (Solium Capital ULC)
                                                                                         Suite 1500 600-3rd Ave SW
             List the contract number of any                                             Calgary, AB T2P 0G5
                   government contract


 2.4.        State what the contract or                   Lease (Greek Office)
             lease is for and the nature of               (Ref No. 202110001)
             the debtor's interest                                                       Everty Property AP10
                                                                                         Single Member Societe Anonyme
                 State the term remaining                 Agreement end date             Municipality of Chalandri, Attica, at 30
                                                          10/31/2031                     Vasileos Georgiou B' av. & Mikras Asias str.
             List the contract number of any                                             Greece
                   government contract




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 Debtor 1 Meta Materials Inc.                                                                     Case number (if known)   24-50792
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.5.        State what the contract or                   Lease (Greek Office)
             lease is for and the nature of               (Ref No. 202110002)
             the debtor's interest                                                        Everty Property AP10
                                                                                          Single Member Societe Anonyme
                 State the term remaining                 Agreement end date              Municipality of Chalandri, Attica, at 30
                                                          10/31/2031                      Vasileos Georgiou B' av. & Mikras Asias str.
             List the contract number of any                                              Greece
                   government contract


 2.6.        State what the contract or                   Equity Support Proposal
             lease is for and the nature of               (Ref No. 202210012)
             the debtor's interest

                 State the term remaining                 Effective date
                                                          10/27/2022                      Infinite Equity
             List the contract number of any                                              PO Box 720151
                   government contract                                                    San Francisco, CA 94172


 2.7.        State what the contract or                   Service Agreement
             lease is for and the nature of               (Ref No. 202210013)
             the debtor's interest

                 State the term remaining                 Effective date 8/1/2022
                                                                                          Inteum Company
             List the contract number of any                                              9720 NE 120th PL, #101
                   government contract                                                    Kirkland, WA 98034


 2.8.        State what the contract or                   Consulting Agreement
             lease is for and the nature of               (Ref No. 202210011)
             the debtor's interest
                                                                                          LG Energy Solution, Ltd.
                 State the term remaining                 Effective date                  Parc. 1 Tower 108
                                                          12/15/2022                      Yeoui-dacro, Yeongdeungpo-gu
             List the contract number of any                                              Seoul, 07335, Republic of Korea
                   government contract


 2.9.        State what the contract or                   Consulting Agreement
             lease is for and the nature of               (Ref No. 202210005)
             the debtor's interest
                                                                                          Medical Wireless Sensing
                 State the term remaining                 Effective dates 7/1/2022        QMB Innovation Centre
                                                                                          42 New Road
             List the contract number of any                                              London, F12AX, UK
                   government contract




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 Debtor 1 Meta Materials Inc.                                                                     Case number (if known)   24-50792
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.10.       State what the contract or                   Consulting Agreement
             lease is for and the nature of               (Ref No. 202210009)
             the debtor's interest
                                                                                          Medical Wireless Sensing
                 State the term remaining                 Effective date 9/1/2022         QMB Innovation Centre
                                                                                          42 New Road
             List the contract number of any                                              London, F12AX, UK
                   government contract


 2.11.       State what the contract or                   Consulting Agreement
             lease is for and the nature of               (Ref No. 202210010)
             the debtor's interest
                                                                                          Medical Wireless Sensing
                 State the term remaining                 Effective date 9/1/2022         QMB Innovation Centre
                                                                                          42 New Road
             List the contract number of any                                              London, F12AX, UK
                   government contract


 2.12.       State what the contract or                   Master Services
             lease is for and the nature of               Agreement for Research
             the debtor's interest                        (Ref No. 202210015)

                 State the term remaining                 Effective date 8/16/2022
                                                                                          Molecular Rebar Design
             List the contract number of any                                              13477 Fitzhugh Rd
                   government contract                                                    Austin, TX 78736


 2.13.       State what the contract or                   Equity Edge Online and
             lease is for and the nature of               Employee Stock Plan
             the debtor's interest                        Services Agreement

                 State the term remaining                 Effective date 12/6/2022        Morgan Stanley
                                                                                          (E*TRADE Financial Corporate Services, Inc.)
             List the contract number of any                                              3 Edison Drive
                   government contract                                                    Alpharetta, GA 30005


 2.14.       State what the contract or                   Consulting Agreement
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                 Effective date 05/2/2022
                                                                                          On Search Partners, LLC
             List the contract number of any                                              102 First Street, Suite 201
                   government contract                                                    Hudson, OH 44236




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                          Page 3 of 4
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 Debtor 1 Meta Materials Inc.                                                                     Case number (if known)   24-50792
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                           State the name and mailing address for all other parties with
                                                                                      whom the debtor has an executory contract or unexpired
                                                                                      lease

 2.15.       State what the contract or                   Supply Agreement
             lease is for and the nature of               (Ref No. 202210026)
             the debtor's interest

                 State the term remaining                 Effective date 9/29/2022
                                                                                          PPG Industries
             List the contract number of any                                              264 Bodwell St
                   government contract                                                    Avon, MA 02322


 2.16.       State what the contract or                   Amendment No. 1 to
             lease is for and the nature of               Supply Agreement
             the debtor's interest                        (Ref No. 202210027)

                 State the term remaining                 Effective date 11/4/2022
                                                                                          PPG Industries
             List the contract number of any                                              264 Bodwell St
                   government contract                                                    Avon, MA 02322


 2.17.       State what the contract or                   Subscription Services
             lease is for and the nature of               Agreement
             the debtor's interest                        (Ref No. 202210019)

                 State the term remaining                 Effective date
                                                          10/15/2022                      Water Tower Research
             List the contract number of any                                              200 2nd Ave South, Suite 718
                   government contract                                                    Saint Petersburg, FL 33701




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                         Page 4 of 4
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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)         24-50792
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                   Name                           Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Meta Materials Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEVADA

 Case number (if known)        24-50792
                                                                                                                                         Check if this is an
                                                                                                                                         amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                                12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on           08/0/2024                            X
                                                                         Signature of individual signing on behalf of debtor

                                                                          Uzi Sasson
                                                                         Printed name

                                                                         Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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